
PER CURIAM.
“This Court, by the unanimous opinion of the Judges present doth decide, that it is not necessary that an Information should be filed upon the Presentment in the record of the said case set forth, but the said defendant is bound to plead thereto forthwith, and that if he will not do so; judgment ought to be rendered against him for $150 and costs.”
Note (in edition of 1853). — This mode of proceeding was directed by tbe Act of 1802. See 2 Rev. Oode of 1808, cb. 15, § 2 and 3; incorporated into 1 Rev. Oode of 1819, cb. 147, § 20 and 21. Tbe fine of $150 on any person wbo permits *119the game of Faro, &amp;c. at Us Rouse, &amp;c. 1 Bev. Code of 1793, ch. 231, § 3. Tie same law as to suffering' Billiards, incorporated into 1 Bev. Oode of 1819, ■ch. 147, i 13; hut with respect to Faro, now much more severe. Ib. 117, Acts of 1832, ch. 32.
